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IN THE UNITED STATES DISTRICT COURT
FOR ee
THE THIRD CIRCUIT no Ps

Rahman R. Fulton,
(Petitioner) ere Le DE TI

Liss wim -!
Civil Action No.
18-16526-(SRC)

Crim. No.
United States of America, 13-CR-261 -(SRC)
(Respondent )

PETITIONER'S RESPONSE TO THE GOVERNMENT'S ANSWER
TO PETITIONER'S MOTION TO EXPEDITE
(UNDER RULE 4.1) AND PETITIONER'S
CLAIMS WITHIN HIS RESPONSE BRIEF
OF HIS 2255 HABEAS CORPUS FILING;
IN LIGHT OF RECENT SUPREME COURT DECISION
ON JUNE 24TH 2019
(U.S. V. DAVIS) NO. 18-431;
CONCERNING 18 USC 924(c)(1)(A),
(3)(b); FINDING TO BE UNCONSTITUTIONALLY
VAGUE AND CANNOT STAND,
AND THUS AFFECTING PETITIONER'S CASE DIRECTLY

 

COMES NOW before the Court, Petitioner Rahman Fulton's pro se Motion to
compel the Court to Grant a ruling on his case in favor of Petitioner, because
in light of recent Supreme Court decision in (U.S. v. Davis) No. 18-431. Petitioner
is timely responding to the Govt's Answer per FRAP Rule 5, "Answer and Reply"
as well as, under FRAP Rule 4.1 where Petitioner has (3) days from the time
he receives notification from the Govt. to respond. On August 29, 2019; Petitioner
by way of (Allenwood-Low) legal mail (See Attachment #1 - Copy of Receipt
of Legal Mail) received the Govt's Answer and thus is responding timely and

states the following:

STATEMENT OF FACTS
The Govt's Answer letter is riddled with incorrect legal interpretations
when citing reasons why Petitioner supposedly does not qualify for Relief
under (Davis) and will address each claim proffered and proving that Petitioner

does qualify under the New Supreme Court Case in (Davis).

1) Govt. falsely claims Petitioner's conviction is unaffected by (Davis).
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PETITIONER'S RESPONSE:
For starters, the Govt. begins its claims by bringing up the ACCA element

 

clause. However/ for an ACCA conviction to be considered the Law states; "you
have to have three (3) prior convictions that are crimes of violence or drug
cases. The Record shows that Petitioner does not qualify as an ACCA status;
nor was he sentenced under the ACCA statute.

The Govt. then lays out in its case pertaining to the "physical force
against the person of another", and asking the Court to use the common sense
understanding of the word intimidation; while citing cases as far back as
1998.

Yet, the Govt. avoids to mention recent Lower Court case in (U.S. v.
Walker) No. 15-4301, stemming from (Davis); that the Court held that because
{as in this case) Walker's substantial rights as well as, fairness, integrity,
and public reputation of Judicial proceedings; Walker could not be guilty
of violating §924(c); when a crime of force can be committed without actual
violence, and any additional months given must be vacated and remanded back
for resentencing.

Petitioner's case (the Robbery) as admitted by the Govt. lasted around
45 seconds, with no one being harmed. Petitioner's case has (2) two potential
parts to it, 1) the elements charge and/or 2) the Residual Clause, and such
Petitioner's Claims under (Davis) has merit. On the Record witness account
and testimony was clear that wnomevex robbed the bank, never made threats
to bank tellers at the time of the offense.

Recent cases in Lower Courts address how 924(c) charges that were charged
as elements; when in fact; should have been appropriately charged as Residual
charges; thus rendering such 924(c) charges as unconstitutionally vague and

now cannot stand as cited in (US. v. Davis).

2) Govt. faisely claims that any Davis claim has been procedurally defaulted

by Petitioner.

PETITIONER'S RESPONSE

Petitioner in his 2255 claims cites violations in the Govt's 924(c)
charge and enhancement of the charge. So, the Govt's claims that Petitioner
did not preserve at trial or on appeal under (Brady) is baseless at best.

In fact, of legal consequence; that significantiy refutes the Govt's
logic and is not consistent with the factual basis, when the Court reviews
Petitioner's writ of certiorari (Dated 5/5/17); herein proving that Petitioner

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did argue previous claims in Mathis, Dimaya, and Graham; thus preserving his
Rights to further argue in Davis. (See Attachment #3).

In addition, throughout Petitioner‘s Briefs (2255); Petitioner clearly
shows cause and actual prejudice; when Petitioner cites clearly that although

 

Petitioner's case carried a 924(c) charge “in a crime of violence and brandishing
a firearm"; the 924(c) matter was never proven at trial and was simply used

as an enhancement. (See Attachment #2; transcript of the Court proceedings

where because Petitioner lost as of Count 1 of a Bank Robbery - the Jury was
forced to agree to Count 2 of Brandishing a Firearm) even though no gun was

tound or poffered during trial.

Petitioner makes his claims clear and that is he should have never been
charged as an element under the 924(c) statute, based on (Davis). Petitioner's
case is an error by the Court and Petitioner's 924(c) charge is a Residual
Clause Matter, and thus the Court first must examine whether the Court committed
plain error by allowing such a charge to stand as an element.

Next, the Court must reanalyze Petitioner's Bank Robbery charge was
a crime under 924(c)(3)(A); in which the Court needs to look to whether the
statutory elements of the offense necessarily require the use, attempted use,
or threatened use of physical force. Furthering, the Court can use the categorical
approach meaning; that the Court should not just look "only at the elements
of the crime and net at the particular facts in the case." Of great importance
(as in recent vacated kidnapping case in (U.S. v. Walker) No. 15-4301 (4th
Cir); the Court must consider; "when a statute defines an offense in a way
that allows fer both violent and nonviolent means of commission, that offense
is not categorically a crime of violence under the force clause.

The Govt's adaptation that the Lower Courts in (Wilson) under the element
clause invalidates Petitioner's claims, is not fully explained; and (U.S.

v. Walker) 2019 findings cancels out the Govt's reasons why the Court should
reject Petitioner's claims for Relief under Davis.

Also, throughout Petitioner's filings, he maintains "Actual Innocence”
in which he provides unrefuted proof by way of a timeline (and alike), using
only and all evidence already on Record; that shows that Petitioner did not
commit the crime. This evidence was not challenged by the Govt. in its Answer
of Petitioner's 2255 filings; as the Govt's legal grounds basically centered
around whether or not Petitioner had or had not received a fair trial. In
which Petitioner did not receive a fair trial. Period!

Lastly, the Govt. is looking to distract the Court, when it claims Petitioner

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had not previously argued constitutional vagueness as a challenge to Section
924(c)(3)(B) before Davis. However, the Govt. leaves out a few matters the

Court must consider material facts such as:

A) Petitioner cites 924(c) issues and his innocence post-trial prior
to the Davis Ruling within his 2255 filings;

B) Petitioner's trial mainly concentrated its focus on (by the Govt.)
who actually committed the crime and Petitioner's innocence, and not the 924(c)
matter which is one of the claims Petitioner makes for Ineffective Assistance

of Counsel claims.
Cc) (U.S. v. Davis) is actually retroactive and thus Petitioner could

have brought the Davis case in appropriately within his appeal process in
any number of cases the Govt. cites in their letter Response; but also under
Statute 18 USC 3582, 60(b) and alike (just to name a couple) post facto of
the trial.

Finally, the Govt. states that the Jury convicted Petitioner on both
the Bank Robbery and the 924(c) counts charged in the indictment as cited
in Petitioner's briefings on Petitioner's ineffective asst. claims.

However, the Govt. does not address Petitioner's claims that under (Davis);
Petitioner charges is actually a Residual Clause matter and not an element
charge whatsoever, and such is the claims Petitioner makes under Davis, Walker

and other cases cited in this Response.

CONCLUSION
In sum, Petitioner meets all the criteria given by the Govt. that warrants

Relief under (Davis) such as:
(Aiso see Attachment #4; recent favorable Circuit Appellate Cases)

-Petitioner argues within his 2255 Habeas Corpus that he is "Actually
innocent" of the Robbery, thus cannot be charged for the 924(c) crime,

while providing unrefuted proof cf his innocence.

~In the (3rd Cir.) on August 14,2019; (U.S. v. Mathews)(Nos. 16-2027/
2080/2273/2414/2422 ) (consolidated case-petition under a second and successive
habeas petitions under 28 USC §2255(h)(2)), also favorably applies to
Petitioner's case where the parties conceded that the petitions at issue

are now timely under Davis; when defendants were incorrectly charged

then sentenced under 924(c)-
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-In the (7th Cir.) on August 12, 2019; (U.S. v. Brazier) (Nos. 16-4258, .
17-1060, 17-1412), also applies favorably when two defendants were sentenced
under 18 USC 924(c) for using and discharging firearms during a supposed
crime of violence. This case was reversed and remanded back for resentencing.

-Petitioner correctly argues that his 924(c) charge (as in Davis) is
actually a Residual Clause and not an element offense. In fact; as shown
in the transcripts, because Petitioner lost trial for the Robbery; the
924(c) was then used as an enhancement as the Jury accepted Count 2 for

the 924(c) charge without ever ptoving such a charge.

-The Court must first examine if it committed plain error when considering
if Petitioner's charge carried categorical approach; meaning that the
Court only looked at the elements of the crime and not at the particular
facts of the case; and when a statute allows both violent and nonviolent
means of commission and such that offense is not categorically a crime

of violence under the force clause. As in a bank robbery that is committed
with only a note, intimidation can be considered as non-violent as well
now based on multiple cases cited herein this Motion/Response Brief.

WHEREFORE, Petitioner Rahman R. Fulton, pro se, hereby respectfully requests
this Honorable Court to "GRANT" his Motion for Reliet under (Davis) No. 18431;
under 18 USC 924(c)(1)(A); (3)(B); finding that Petitioner's Count 2 should
and does qualify under the Residual Clause and not as an Elements charge.
Such a determination would qualify Petitioner for immediate Relief and Release
from custody and as stated in the footnotes of the Govt’s Letter Answer on
Page 2; ("If Petitioner were successful on his claim, the remedy would be
to remand the case for resentencing...(stated in part here purposely); while
the Court continues to address the other grounds herein Petitioner's complete
filing of his 2255 habeas corpus filing; and for such other and further Relief

deemed proper and necessary in the Interest of Justice.

Dated: Sept f POT 1... Submitted,
ohare
fahman R. Fultén, Pro Se/64940-050
Allenwood LSCI - LOW

PO Box 10006
White Deer, PA 17887
Gase 2:18-cv-16526-SRC Document 12 Filed 09/05/19 Page 6 of 37 PagelD: 256

AFFIDAVIT
I HEREBY CERTIFY that the foregoing facts are true and correct to the

best of my knowlege and belief upon pain of perjury under 28 USC $1746.

bb le

Rahman Fulton

GERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that a copy of the following pleading was mailed on

this A day of Sep? 2019 by first class mail; postage

 

prepaid to Daniel V. Shapiro (AUSA)/ 970 Broad Street, Newark, New Jersey 07102.

bib Za

Rahman Fulton
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ATTACHMENT(S)
Case 2:18-cv-1

 

 

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Rahman Fulton

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Federal Correctional Complex-Allenwood Low

P.O. Box 1000
White Deer, PA17887

 

ATTACHMENT #1
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verdicts.

JURY FOREPERSON: With respect to count one, which
charges defendant Rahman Fulton with bank robbery on or
about May 25th, 2012, we, the jury, unanimously find the
defendant guilty.

If the question is guilty, with respect to count two,
with charges defendant Rahman Fulton with using, carrying
and possessing a firearm during a crime of violence that
is, the bank robbery charged in count one, we, the jury,
unanimously find the defendant guilty.

Did the defendant, Rahman Fulton, brandish the
firearm in furtherance of a crime of violence, that is, the.
crime charged in count one? We answered yes.

THE COURT: Thank you. Miss Gillen, do you wish the
jury polled?

MR. THOMAS: Yes, your Honor.

THE COURT: Miss Trivino, please poll the jury.

THE CLERK: As I call your name, please indicate
whether you concur with the jury verdict rendered.

Juror No. 1, do you concur?

JUROR NO. 1: Yes.

THE CLERK: Juror No. 2?

JUROR NO. 2: Yes.

THE CLERK: Juror No. 3?

JUROR NO. 3: Yes.

App. 1215
ATTACHMENT #2

 
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‘ No.

 

 

IN THE
SUPREME COURT OF THE UNITED STATES

OF America

Rahman Fulton — PETITIONER
(Your Name)

VS.

United States of America — RESPONDENT(S)

PROOF OF SERVICE

I,__Rahman Fulton , do swear or declare that on this date,
mA ad o , 20.17, as required by Supreme Court Rule 29 I have
served the enclosed MOTION FOR LEAVE TO PROCEED IN FORMA PAUPERIS
and PETITION FOR A WRIT OF CERTIORARI on each party to the above proceeding
or that party’s counsel, and on every other person required to be served, by depositing
an envelope containing the above documents in the United States mail properly addressed
to each of them and with first-class postage prepaid, or by delivery to a third-party
commercial carrier for delivery within 3 calendar days.

The names and addresses of those served are as follows:
Solicitor General of the United States, Room 5614,

Department of Justice, 950 Pennsylvania Ave.,

N.W., Washington, DC 20530-0001

I declare under penalty of perjury that the foregoing is true and correct.

Executed on of - / , 20_/ 7

(Signature) f°

ATTACHMENT #3
Case 2:18-cv-16526-SRC Document 12 Filed 09/05/19 Page 11 of 37 PagelID: 261

No

 

IN THE
SUPREME COURT OF THE UNITED STATES
Rahman Fulton -PETITIONER

 

VS.
United States of America -RESPONDENT(s)

MOTION TO FILE SUPPLEMENT BRIEF IN LIGHT OF DEAN v. UNITED STATES

 

QUESTION TO ASK "GVR" REMAND

“Back To Third Circuit Court Of Appeals"

Petitioner rely's on Rule 15 to Supplement and Amend pleading
base on New Supreme Court Decision” which came down and could
cause great difference in Petitioner sentence. This approach

is Dean v. United States, No. 15~9260, 4/3/17. The facts are
Petitioner comes with a recent decision that came down Aug. 1,
2017 See(US v. Bodonie No. 14-10069 9th Cir.(Aug 1, 2017) Which
was remand down to District Court base on Count 3 924(c)(1)(iii)

was dismiss in light of Dean v. United States. Petitioner ask the

 

Supreme Court"GVR" Dean provistoniinregards to Mr- Fulton 924(c)(1)

(ii) and 2 Count Two. Should be dismiss in light of Dean v. US.

Respectfully Submitted

Date: Aug 21, 2017 : Lope Loe

/Rahman Fultgn Pro-Se
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CERTIFICATE OF SERVICE

 

Mr. Rahman Fulton Pro-Se apply a copy of Motion To-File Supplement
Brief Under Rule 15(8) To Solicitor General of the United States,
Room 5614, Department of Justice, 950 Pennsylvania Ave., N.W.,

Washington, DC 20530-0001. Upon First Class Mail

VIA MAIL

Solicitor General Of the United States

Date: Aug. 21, 2017 x K a J

Rahman Fultén#64940-050
Allenwood FCI MED.

P.O. Box. 2000

White Deer, PA. 17887

 
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SUPPLEMENT BRIEF UNDER RULE 15

Notarized Affidavit or Declaration
Under 28 U.S.C. 1/46

Petitioner has not been declare to file any In Forma Pauperis
under Federal Rules of Appellate Procedure, Form 4. Which
Petitioner never recieve any papers from Counsel which filed
Rehearing En Banc thereafter Petitioner recieve a Judge order

that he had to May 9, 2017 to file a Writ of, Certiorari.

Respectfully Submitted,
Vodarsanhe fact

(Ct tr f —
/ 7 [

Via Mail

Solicitor General of the United States

Room 5614, Department of Justice, ~

950 Pennsylvania Ave., N.W., Washington, D.C.
20530-0001. ’
Case 2:18-cv-16526-SRC Document 12 Filed 09/05/19 Page 14 of 37 PagelD: 264

No.

 

 

IN THE

SUPREME COURT OF THE UNITED STATES

OF America

 

Rahman Fulton — PETITIONER
(Your Name)

vs.

 

United States Of America — RESPONDENT(S)

ON PETITION FOR A WRIT OF CERTIORARI TO

Third Circuit Court Of Appeals
(NAME OF COURT THAT LAST RULED ON MERITS OF YOUR CASE)

PETITION FOR WRIT OF CERTIORARI

Rahman Fulton
(Your Name)

FCI Allenwood, P.O. Box. 2000
(Address)

White Deer, PA. 1/887
(City, State, Zip Code)

 

(Phone Number)
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LIST OF PARTIES

[x] All parties appear in the caption of the case on the cover page.

{ ] All parties do not appear in the caption of the case on the cover page. A list of
all parties to the proceeding in the court whose judgment is the subject of this
petition is as follows:
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CON'ISTITUTIONAL AND ‘STATUTORY PROVISION'S INVOLVES

AMENDMENT 4th

The right ot the people to be secure in their persons
house, papers, and etfects against unreasonable searches
and seizures, shall not be violated, and no Warrants shall
issue but upon probable cause, supported by oath or Affirm-
ation and particularly describing the place to be searched
and persons or things to be seized.

AMENDMENT <6

m Right of the accused

In all criminal prosecutions the accused shall
enjoy the right to a speedy and public trial, by an impartial
Jury of the state and district wherein the crime shall have
been committed, which district shall have been previously
ascertained by Law and to be informed of the nature and cause
of the accusation to be confronted with the witness against

him to have compulsory process tor obtaining witnesses in his
favor, and to have the Assistance of Counsel for his detense.
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QUESTION(S) PRESENTED

Petitioner comes forth with Question base under Graham v. United States,
U.S., No. 16-6308, friend of the Court brief filed 10/28/16. To Be Held
Tn<Abeyance To Outcome Of Supreme Court Decision. Mr. Rahman brings same
conclusion when FBI use mining mobile phone provider records to point him
at Bank Robbery base on the phone call to Ms. Karina Echevarria on May 25,
2012 at 4:19pm. Petitioner ask The Supreme Court grant a"GVR"

Petitioner comes forth with Question base under Lynch v. Dimaya, No. 15-

1498 To Be Held In Abeyance To Outcome Of Supreme Court Decision.
Petitioner ask The Supreme Court grant a “GVR"

(a) Petitioner states federal bank robbery statue does not requir

(b)

a knowing or intentional "mens rea" in association with the
use of force or intimidation. Therefore "force" clause of

18 U.S.C. 924(c)(3)(A) does not apply Mr. Rahman under residu
clause 924(c)(3)(B) which identical to 16(b).Count 2 should b
dismiss for not being "Crime of Violence"

 

Petitioner argues Mathis v. United States, 136 S.ct. 2243, 19
L.Ed. 2d 604(2016) Mr. Rahman brings argument under lessor
included offense of Bank Robbery which can be committed by
means of extortion that does not require the use or fear of
physical force. Therefore Count 2 should be dismiss for not
being "Crime of Violence”

 
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IN THE SUPREME COURT OF THE UNITED STATES
SUPPLEMENT OF BRIEF

 

 

RAHMAN FULTON ;

Vv.

UNITED STATES OF AMERICA

STATEMENT OF CASE

 

On May 25, 2012 a large man who appeared to be wearing multiple layers

of clothing entered the PNC Bank in North Randolph, Pennsylvania carrying
a gun.(App. F.) He ordered everyone to the ground and demanded money from
the tellers' second drawers. Two PNC employees quickly handed him two
stacks of cash, one of which contained a concealed Global Positioning
system tracking device. The robber's face was completely covered by a

ski mask. The robbers' height was estimated as being any where from 6 feet
to 6 foot 3 inches. One employee described him as having a "medium build"
and being "solid," but admitted she "couldn't really totally tell[if he
was] muscular or not because the way [he] was covered."" she estimated his

weight at 220 or 230 pounds. Another employee described him as" a husky

t

man, built" and" not necessarily fat but, you know, muscular." she said

it was hard to tell his build because of his bulky clothing. The robbery
occured at 4:08p.m. and lasted a matter of minutes. Mr. Fulton explain
without mobile phone provider records. The phone call to Ms. Karina

Echevarria would have been suppressed under Fourth Amendment.

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Cannot stand.

The Central dispute at trial was robbed the PNC Bank in Randolph,

New Jersey, a little after 4pm. On May 25, 2012. Fulton was charged,
but substantial evidence pointed to Ricardo Barnes, another African
American man who lived next door to Fulton in a single story, side-by-
side duplex separated by a wall down the middle of the building. Fulton
Lived on one side, at 13 Jefferson Avenue, Barnes in the other, at 17
Jefferson Avenue(together, "13/17 Jefferson"). The duplex is located
in Victory Gardens, a town close to the PNC Bank. Twenty-six witness
testified at trial, 21 called by the government and five the defense.
Witness included bank employees, responding law enforcemant cfficers,
several of Fulton's neighbors and housemates, his girlfriend and his
girlfriend's sister, experts in cell phone analysis, an expert in GPs
techonology; Barnes's mother, and Barnes himself.

General, the testimony covered the robbery itself the immediate
police response, follow-up interviews, and analyses of cell phone records
and data produced by GPs tracking device. More specific topics included
testimony by Fulton's girlfriend and his girlfriend's sister abcut con-
versions they had with Fulton, testimony about the layout 13/17 Jefferson
and testimony about the physical resemblance, or lack thereof, among
Fulton, Barnes, and the man depicted in the bank surveillance video and

still photographs.
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SHOULD ‘SUPREME COURT GRANT A STAY UNDER RULE 23
Under Graham v. United States, Uts. No. 16-6308,
friend of the Court brief filed 10/28/2016. Te
Be Held In Abeyance To Outcome of Supreme Court
Decision.Petitioner ask this Court to"GVR" his
his case back to the 3rd Circuit Court of Appeals
Under Grounds of harmless Error Rule 52(b) See
(Griffith v. Kentucky)

Mr. Fulton argument is base on Government witness Karina Echevarria
(J.-A 571) that’ recieved an in coming call from the defendant on the
day of the Bank robbery at 4:19pm demonstrate that the officers used
a “Pen Register" technology that only provide information about in-
coming and outgoing calls. Furthermore Government witness FBI agent
James Scarozzi gave a Lay Opinion testimony under Fed. R. Evid. 791
stating that Ricardo Barnes who lived next door to the defendant was
excluded as a suspect. Because Barnes recieved a phone call at ther
same time of the Bank Robbery at 4:08pm.(J.A. 816)(which went to voice ==:
mail)(J.A. 894) Mr. Fulton made a 12-second phone call to his girl#=r=
friend Karina(J.A: 564) Mr. Fulton occasidéhakly picked Echevarria up
from this K-Mart andidrove her to school. Because the police were just
beginning to arrive in Fultons neighborhood at the time he placedithis
call, the Government argues that Echevarria's testimony was probative
of hisguilt. 46,(Appellee's Br. at 31) According to the government
Fulton could not have known about the PNC robbery that ocurred just 10
minutes prior to his phone conversation unless he was involved in the:
crime.

Petitioner points to the facts of this case were its*more unfactual
problems then evidence at hand Mr. Fulton rely's on Graham to be the pre-

vailing law, when there are evidence base on speculation. Now it is a

fact Mr. Fulton always call Ms. Echevarria everyday as you see onithe prio

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call-logs. The problem is how FBI agent use mobile phone location data
that tied him to Bank robbery. The government was able to get the in-
formation by mining mobile phone providers records. Mr. Fulton argu-
ment should have been to suppress the location of data. When the call:
was outgoing or incoming by Ms. Echevarria. Therefore split into Third
Circuit and Fourth Circuit also Sixth Circuit are controlling into Mr.
Fulton case were the police must have a search warrant before they
compél!mobile phone service providers to turn over data that locates

suspect's physical movements.

Wherefore Petitioner Mr. Fulton is requesting this Court
to "GVR" his case back to the 3rd Circuit Court of Appeals in light
of this Courts rulings under US v Graham To Be Held in Abeyance To

Outcome of Supreme Court Decision.

‘SHOULD sUPREME COURT GRANT A STAY UNDER RULE 23
Under Lynch v. Dimaya, No. 15-1498(Jan. 19, 2017
Oral Argument) To Be Held In Abeyance To Outcome

Of Bupreme Court decision. Petitioner ask this Court
to "GYR" his case back to the 3rd Circuit Court of
Appeals in light of Griffith v Kentucky.

 

Mr. Fulton first step is to establish the approach at hand which dealt
2113(a) and (d) gee(Us v Dixon, 779 f.3d 758 7th Gir. June 23, 2015)
2113¢a)(bank robbery by intimidation) rather than 2113(d)(violation of
2113(a) by using a dangerous weapon or device). In one robbery Dixon
waved at teller a bag containing a stiff object and threatened them,
saying five seconds I'm gonna shoot. In the other Dixon brandished an
object with a long barrel and directed a teller to "give him the money
or he would shoot." The object in both robberies*was not gun but a

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butane lighter with a long barrel. Dixon also pressed the gun against
one teller neck when making threat. Government never disputed that
this happen on a appeal. See(Mclauglin v. US$ 106 S.Ct. 1677(1986)
gives three reason way an unloaded handgun is a dangerous weapon"under
2113(d) first, every firearm is potentially dangerous, Second, it instill
fear tn those at which it is pointed, third, it can cause injury when
used as a bludgeon.
Mr. Fulton points To Volume 2 Trial The Government first witness
Robin Elibeth Hunt‘ (Page(18) V.2,T.P., describing the Bank teller hand-
ing over the money to the Bank robber.:On* page (19) G.W. Robin Hunt test-
fied the bank robber took the money from the customer side and that the
bank robber left. On page (21) from V.2.T.P. G.W. Robin Hunt testified
that she could'nt tell if the Bank Robber was musclaror heavy set because
of the sweater the way the person was covered.
The Government !lecond witness Carol Viola page (33) V.2.T.P.

Carol Viola testified that the Bank Robber cocked the gun. Page (40) Carol
Viola testified that she heard the gun clicked. Page(42) Carol Viola test-
ified that the bank Robber pointed the Gun at the teller line. Page 44.
Carol Violasstated the Bank Robebberystayed three minutes. Carol Viola is
the PNC president Branch manager on page 37.

(a) Petitioner states Federal Bank Robbery #tatue does not require
a knowing or intentional "Mens Rea" In association with the use of force
or intimidation. Therefore "force" clause of 18 U.#.C. 924(c)(3)(A) does
not apply to Mr. Fulton under residual clause 924(C)(3)(B) which identical

to 16(b). Count 2 924(c) should be dismiss for not being "Crime of Violence

Petitioner comes forth with New Jersey Robbery statue See(US v. Knight

2016 U.S. Dist. Lexis 5858 D.NJ Jam. 19, 2016) Robbery did not have as an
5
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element the use, attempted use, or threatened use of physical force.

This analysis is use in a older case and Mr. Fulton points to See(Us v.
Edmundson, 2015 U.!b. Dist. Lexis 171007 MD SD. Dec. 30, 2015) 18 U.S.C.
924(c)(3)(A) was not met under force clause") and based on Johnson, the
residual clause of 18 U.S.C. 924(c)(3)(B) now fall under residualclause")
was unconstitutionallysvague in violation of the Fifth Amendment Due
Process Clause. (UB v. Melvin, 621 Fed. .Appx. 226, 226-27(4th Cir. 2015)
(Vacating the defendant's enhance sentence under the ACC based on:the
Prior North Carolina Conviction for conspiracy to commit''robbery with a
dangerous weapon because these offense did not qualify as a violent
felony under either the ACC force clause. Other Circuits has held the
Mens Rea for the federal bank robbery offense, 2113(a) does not attach to
the use of violence or intimidation. See(United States v. Pickar,616 F.3d
821, 825(8th Gir. 2010)(finding that the federal bank robbery statues
does not require a knowing or intentional mens rea in association with
the use of force or intimidation); United States v. Yockel, 320°F.3d 818
824(8th Cir. 2003)("The district court correctly concluded the mens rea
element of bank robbery did not apply to the element of intimidation.")
Pursuant to Leocal v. ashcroft, 543 U.8. 1, 9, 125 48.ct. 377, 160 L.Ed.
2d 271(2004). "the key phrase....the’ use..... of physical force against
the person or property of another' or most°naturally suggests a higher
degree of intent than negligent or merely accidental conduct."(quoting

18 U.s.C 16(b))). See(Htllaby v. united states, 2017 U.8. Dist. Lexis
15744 D. Ariz. Feb. 1, 2017)(Hee(Stay granted under(Lynch v. Dimaya) by
Hullaby v. United States, 2017 U.S. Dist. Lexis 22357(D.Ariz. Febi'16,

2017)(Bank Robbery shouldn't: qualify as a "Crime of Violence" under

flection 924(c)
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Wherefore Mr. Fulton Bank Robbery statue does not require a
Knowing or intentional "Mens Rea" in association with the use of
force or Intimidation. Therefore Petitioner 924(c) Count should

be dismiss under 16(b) which is identical to 924(c)(3)(B).

(b). Petitioner argues Mathis v. United States, 136 8.ct. 2243,
195 L.Ed. 2d 604(2016) Mr. Fulton brings argument under lessor
included offense of Bank Robbery which can be committed by means
of extortion that does not require the use or fear of physical
force. Therefore Count 2 Should be dismiss for not being "Crime
of Violence"

Mr. Fulton cites Supreme Court’s decision Mathis which holds that,
where a crime has various means of committing a single element that

is broaqder than generic offense, the broader crime cannot serve as

a predicate under the armed Career criminal Act. 136 §.Ct. 2243,
2248-49. Mathis also hold that, in considering such a staue with alter-
native means of satisfying a single element, courts may only consider
those elements "to explore the manner in which the defendant committed
that. offense. Id at 2252. Movants contend: that Mathis demands that

2113 be read to include not only those takings perpetrated by "force
and violence, or by intimidation", but also those perpetrated by way of
"extortion" See(US v. Slater, 2016 U.S. Dist. Lexis 171656 ED. Cal. Dec.
12, 2016) Petitioner also establish a robbery is an enumerated offense,
FedervalBank Robbery would still not qualify. Under the categorical
approach, the sentencing court looks only to the elements of the prior
or current offense and compares them to the "generic" crime Descamps,
133 S.Ct. at 2283(Quoting Taylor, 495 U.8. at 599) "If the Statute sweeps
more broadly than the generic crime, a conviction under that law cannot

count as a predicate "Crime of Violence," even if the defendant actually
¢

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committed the offense in its generic form.

Wherefore Petitioner Mr. Fulton is requesting this Court to
"GVR" his case back to 3rd Circuit Court Of appeals in light of
v-ithisicourt ruling Mathis v. United States, 136 S.Ct. 2243, 195 L.Ed.
2d 604(2016) or in the alternative to Held In Abeyance To Outcome of

Bupreme Court Lynch v. Dimaya, No. 15-1498(2017)
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INDEX TO APPENDICES

APPENDIX A On september 19, 2016 the Judgement was affirmed by the court
of Appeals For The Third circuits. (Appendix A)

APPENDIX B On January 28, 2014 Mr. Rahman Fulton was Found guilty In
Jury Trial on Count 1 of the Indictment - ~Guilty, Count 2 of the Indictment

-Guilty(Appendix B).

APPENDIX C On February 8, 2017 a timely Filing of Rehearing Motion was
Denied. (Appendix C)

APPENDIX D On January 6, 2015, a timely Notice of Appeal was filed(Doc. 8!
(Appendix D)

APPENDIX E On september 20, 2013 Mr. Fulton Filed motion for Reconsidera-

tion issuance of exparte court order, Cellco Partnership, DBA-Verizon wire:
less shall provide all subscriber. information as to Rahman Fulton and Sprii

Nexhed RRA ly P rey i Aer SABRE ndd x Feadictment as to Rahman Fulton (1) counts
1, 2 Din pe ae F)
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TABLE OF AUTHORITIES CITED

CASES PAGE NUMBER

Graham v United States, No. 16-6308(2016)

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STATUTES AND RULES

18 U.'S.C 2113(a) and (d)
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Lynch v Dimaya, US. No. 15-1498(2017)
United States v. Knight, US. No. 15-004) US Dist. Lexis 5858( 2016)
United States v Edmundson,US Dist. Lexis 1/1007(2015)
United States v Melvin, 621 Fed. Appx. 226, 226-27 4th Cir.(2015)
United States v. Pickar, 616 F.3d 821, 825(8th Cir. 2010)
United States v Yockel, 320 F.3d 818-824(8th Cir. 2003) >
Leocal v. ashcroft, 543 U.S. 1,9, 125 S.Ct. 3//, 1600 L.Ed. 2d 271(2004)
Hullaby v. United States, Us Dist. Lexis 15/44 D. Ariz.(2017)
Mathis v. United states, 136 S.Ct. 2243, 195 L.Ed. 2d(2016)
united v. Slater US Dist. Lexis 1/1656(2016)

Taylor v. United Staes, 495 U.S. 575, 598~599 110 S.Ct. 2143 109 L.Ed.
2d 607(1990)

Statutes and Rules

18 UsS.c. 2113(a) and (d)
18 U.S.C. 924(c)
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IN THE

SUPREME COURT OF THE UNITED STATES
PETITION FOR WRIT OF CERTIORARI

Petitioner respectfully prays that a writ of certiorari issue to review the judgment below.

OPINIONS BELOW

{ y For cases from federal courts:

The opinion of the United States court of appeals appears at Appendix __A to
the petition and is

[x] reported at 837 F.3d 281; US. App. Lexis 1/050 ; or,

[ ] has been designated for publication but is not yet reported; or,

[ ] is unpublished.

 

 

The opinion of the United States district court appears at Appendix 8 __ to
the petition and is

[ ] reported at January 28, 2014 Jury Trial - oY,
[ ] has been designated for publication but is not yet reported; or,
[ J is unpublished.

[ ] For cases from state courts: -/

The opinion of the highest state court to review the merits appears at
Appendix to the petition and is

 

[ ] reported at ; or,
[ ] has been designated for publication but is not yet reported; or,
[ | is unpublished.

The opinion of the court
appears at Appendix to the petition and is

 

 

{ ] reported at ; or,
{ ] has been designated for publication but is not yet reported; or,
{ ] is unpublished.

 
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JURISDICTION

{ ] For cases from federal courts:

The date on which the United States Court of Appeals decided my case
was September 19, 2016

{ ] No petition for rehearing was timely filed in my case.

[ ] A timely petition for rehearing was denied by the United States Court of
Appeals on the following date: _Febraury 8, 2017 , and a copy of the
order denying rehearing appears at Appendix __C

 

 

[ ] An extension of time to file the petition for a writ of certiorari.was granted
to and including = CS (datte) on CCC ttle)
in Application No. __A

 

The jurisdiction of this Court is invoked under 28 U.S. C. § 1254(1).

{ |] For cases from state courts:

The date on which the highest state court decided my case was
A copy of that decision appears at Appendix

 

{ ] A timely petition for rehearing was thereafter denied on the following date:
, and a copy of the order denying rehearing

 

 

appears at Appendix

[ ] An extension of time to file the petition for a writ of certiorari was granted
to and including __.___________ (date) on _____________ (date) in
Application No. __A

 

The jurisdiction of this Court is invoked under 28 U.S. C. § 1257(a).
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CONSTITUTIONAL AND STATUTORY PROVISIONS INVOLVED

Amendment 4th

Unreasonable ‘®arches and Seizures

The right of the people to be secure in their persons.
houses, papers, and effects against unreasonable searches
and seizures shall not be violated and no warrants shall
issue but upon probable cause, supported by oath or
Affirmation, and particularly descibing the place to be
searched and the persons or things to be seized.

AMENDMENT 6
Right of the accused

In all criminal prosecutions the accused shall enjoy the
right to a speedy and public trial, by an impartial Jury

of the ‘btate and district wherein the crime shall have

been committed which district shall have been previously
ascertained by law and to be informed of the nature and
cause ot the accusation to be confronted with the witnesses
against him to have compulsory process for obtaining
witnesses in his tavor, and have the Assistance of Counsel

for his defense.
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STATEMENT OF THE CASE

Fulton was charged in a two~count indictment, filed on April 16, 2013
with bank robbery, in violation of 18 U.S.C. 2113(a) and 2(Count one),
and use of a firearm in furtherance of a crime of violence, in violatior
of U.S.C. 924(c)(1)(A)Ciii) (Count Two) App. 14; ECF #16, The trial begar
on January 14, 2014, App. 19; ECF #5 On January 28, 2014, the jury retur
a guilty verdict. App. 20: ECL #07. On December 22, 2014, Mr. Fulton wa:
sentenced to 141 months imprisonment. App. 21# 78.
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REASONS FOR GRANTING THE PETITION

Petitioner Brings forth clear argument that without Ms. Karina

Echevarria statement he would likely be able to be found guilty

of 2113(a) and (d) also ¥24(c) charge with Graham v. United States
testimony otf this witness would be supress dued to 4th amendment

violation.

Lynch v Dimaya, No. 15-1498 would be good argument under 16(b)
were Mens Rea is not met dued to reckless conduct therefore it
impossible to tound Petitioner guilty of Count Z. Even with that

Mathis v. United States lessor include offense will be Extortion.

 
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Wherefore Petitioner should be granted these argument held in abeyance

to outcome of Graham v. United States, OR Mathis v. United States

Held In abeyance to Lynch v Dimaya is decided.

reverse and with Count 2 remand.

CONCLUSION

The petition for a writ of certiorari should be granted.

Respectfully submitted,

Kotovss Lo Lobo

Date: sla fit
7
(Recents éavorablel 64 26uSR GppObbatacaasas foiechh@/OS4kO oPage Bs HEF BRagelWs 2M ower,
“Force Clause" and reversal on Unconstitutional vagueness (Davis) on Element charges that

should have fallen under the Residual Clause and thus must now be vacated) (* next to

case most relevant to my case).

1st Circuit
United States v. Wright, (1st Cir. August 28, 3019) Wright was indicted for conspiracy to provide material support to ISIS,

("Count One"); conspiracy to obstruct justice ("Count Two"); and obstruction of justice ("Count Three"). An April 2016
superseding indictment added a count for conspiracy to commit acts of terrorism transcending national boundaries ("Count
Four"); and another February 2017 superseding indictment added a count of obstruction of justice ("Count Five"). Following a
fourteen-day trial, the jury convicted Wright on all counts. The District Court sentenced Wright in December 2017 to twenty-
eight years' imprisonment and lifetime supervised release. Wright appealed his convictions. The Court vacated his conviction o1
Count One and remanded for further proceedings not inconsistent with this opinion because Wright's conviction on Count One
on the ground that the instruction that the District Court did give on "material support or resources" was erroneous, we have no
occasion to consider whether Wright's proposed instruction -- insofar as it would attach to the District Court's erroneous

instruction -- was required. .
2nd Circuit (*)

United States v. Barrett, (No. 14-2641-cr) (2nd Cir. August 30, 2019) Following a jury trial, defendant challenged his conviction
for using firearms in the commission of violent crimes, see 18 U.S.C. § 924(c)(1)(A), in one case causing death, see id. § 924(j)
Defendant argued that the predicate felonies for these firearms offenses substantive and conspiratorial Hobbs Act robbery, see
id. § 1951 are not “crime[s] of violence" within the meaning of § 924(c)(3), a conclusion he

maintained was compelled by Sessions v. Dimaya, 138 S. Ct. 1204 (2018), and Johnson v. United States, 135 S. Ct. 2551
(2015). This court rejected this argument for reasons explained in United States v. Barrett, 903 F.3d 166 (2d Cir. 2018). Our
judgment affirming defendant's conviction has now been vacated by the Supreme Court, and the case remanded for further
consideration in light of United States v. Davis, 139 S. Ct. 2319 (2019). Upon such consideration, the court concludes that
Barrett's Count Two conviction for using firearms in the commission of Hobbs Act robbery conspiracy must be vacated and

remanded for resentencing.

United States v. Pugh, (No. 17-1889) (2nd Cir. August 29, 2019) Pugh was charged with attempting to provide material support
to a foreign terrorist organization (count one) and obstruction of justice (count two). At trial, the government admitted into
evidence, over Pugh's objection, a draft letter that Pugh had purportedly written to his wife which, inter alia, professed his
allegiance to the Islamic State. Pugh was convicted by a jury on both counts and sentenced to 180 months of incarceration on
count one, and 240 months of incarceration on count two, the sentences to run consecutively, for a total effective sentence of
420 months of incarceration, the maximum allowable sentence. Pugh argued on appeal, among other things, that his sentence
was procedurally and substantively unreasonable because the court (1) failed to sufficiently articulate its reasoning for imposinc
the statutory maximum sentence, and (2) failed to provide Pugh sufficient opportunity to address the court. The Court agreed
that further articulation of the sentence determination was required and vacated the sentence, and remanded for resentencing.

5th Circuit
United States v. Aguilar-Alonzo, (No. 18-50627) (5th Cir. August 27, 2019) Defendant Aquilar-Alonzo pleaded guilty to aiding

and abetting the possession with intent to distribute marijuana. The district court imposed a two-level enhancement to Aguilar-
Alonzo's base offense level under U.S.S.G. § 2D1.1(b)(15)(A) (2016) for "us[ing] fear, impulse, friendship, affection, or some

combination thereof to involve another individual" in the offense. Aguilar-Alonzo appealed, contending that the evidence does
not support the two fevel enhancement and that the district court clearly erred in applying the enhancement. The Court agree:

and vacated and remanded.

6th Circuit (*)
Knight v. United States, (No. 17-6370) (6th Cir. August 27, 2019) Knight appealed the district court's denial of his motion to
amend his 28 U.S.C. § 2255 petition to challenge his convictions under 18 U.S.C. § 924(c) (use of a firearm during and in
relation to a “crime of violence") in light of Johnson v. United States, 135 S. Ct. 2551 (2015) ("Johnson Il"). While Knight's
appeal was pending, the Supreme Court held that the residual clause of the definition of “crime of violence" in § 924(c)(3)(E
unconstitutionally vague. United States v. Davis, 139 S. Ct. 2319, 2336 (2019).

The government conceded that under Davis kidnapping in violation of 18 U.S.C. § 1201(a) is not a “crime of violence" and ‘
Knight's conviction under § 924(c) for using a firearm during and in relation to kidnapping must be vacated. Accordingly, th:
Court vacated Knight's § 924(c) conviction for using a firearm during a kidnapping, and robbery of a postal employee, and

ATTACHMENT #4
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remanded for proceedings consistent with this opinion.

9th Circuit
United States v. Hanson, (Nos. 18-30037) (9th Cir. August 28, 2019) The panel vacated the defendant's 2017 conviction for

receipt of child pornography and for a violation of supervised release, and remanded for resentencing on both matters. The
panel held that the district court violated the Ex Post Facto Clause when it sentenced the defendant to five years’ imprisonment
under 18 U.S.C. § 3583(k) (2006) upon revoking his supervised release rather than sentencing him under the statutes as they
existed in 2005 when he committed his first child pornography offense. Under those statutes, the maximum term of
reimprisonment the district court could impose after revoking the defendant's supervised release on his Class C felony
conviction was two years. The panel held that the record raises at least a reasonable probability that the district court would
have imposed a lower total sentence if it had known that the maximum possible sentence on revocation of supervised release
was two years rather than five, and that the error affected the defendant's substantial rights. (x)

United States v. McAdory, (No. 18-30112) (9th Cir. August 28, 2019) The panel! reversed a criminal judgment in a case in
which the defendant was convicted of being a felon in possession of a firearm, and remanded with instructions that the district
court vacate the conviction and dismiss the indictment. The panel held that because none of the defendant's prior convictions
had standard sentencing ranges exceeding one year, and none was accompanied by written findings of any of the statutory
factors that would justify an upward departure, the defendant had no predicate offenses within the meaning of § 922(g)(1).

10th Circuit
United States v. Herring, (No. 18-4023) (10th Cir. August 27, 2019) Herring appealed from the denial by the district court of his

motion to vacate, set aside, or correct his sentence under 28 U.S.C. § 2255. The Court granted a certificate of appealability to
determine whether the district court erred in denying, without a hearing, Herring's claim that his trial counsel's failure to consult
with him

about an appeal constituted ineffective assistance of counsel. The Court concluded that the district

court abused its discretion under 28 U.S.C. § 2255(b) by failing to hold an evidentiary hearing to resolve Herring's section 2255
motion because the record does not "conclusively show" that Herring is entitled to no relief. The Court vacated the district
court's dismissal of Herring's motion and remanded for an evidentiary hearing.

Smith v. Sharp, Warden, (No. 17-6184) (10th Cir. August 26, 2019) Smith was sentenced to death by an Oklahoma state jury
for the 1993 murders of his wife and four stepchildren. The Court previously granted relief on Smith's previously filed habeas
corpus petition in Smith v. Mullin, 379 F.3d 919 (10th Cir. 2004), entitling him to resentencing. A jury found Smith competent to
stand trial in 2009, and he was resentenced to death in 2010. Smith again sought federal habeas relief. He alleged that the
state prosecution in his Atkins, competency, and resentencing trials violated several of his constitutional rights, including his
Eighth Amendment right against cruel and unusual punishment and his Sixth Amendment right to counsel. Specifically, among
other things, Smith argued: (1) the Eighth and Fourteenth Amendments prohibit his execution because he is intellectually
disabled; (2) the jury instruction requiring a finding that his intellectual disability was "present and known" before the age of
eighteen violated Atkins; and (3) counsel's failure to call an expert witness to testify about the employment capabilities of the
intellectually disabled and prepare an additional adaptive functioning measurement denied him effective assistance of counsel
during his Atkins trial; The Court remanded with instructions to grant a conditional writ vacating Smith’s death sentence and

remanding to the State for a new penalty-phase proceeding.
 

 
 

 
 
 

 
 
 

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